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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )                      4:13CR00148-14 SWW
                                             )
LAMONT WILLIAMS                              )



                                             ORDER

       The Government’s motion to withdraw its recently filed motion to modify conditions of

release is granted and the Clerk is directed to administratively terminate the motion to modify

conditions of release.

       IT IS SO ORDERED this 6         day of March, 2014.




                                                 UNITED STATES MAGISTRATE JUDGE
